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Exhibit 277
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To: Hinman, Willia1 GOV]; Seaman, Miche 5 cov
Ce: Ingram, Jonathan |. GOV); Starr, Amy[ .GOV]

From: Fredrickson, David R.

Sent: 2018-05-03T11:51:04-04:00

Importance: Normal

Subject: First stab at the digital asset security morphing issue

Received: 2018-05-03T11:51:04-04:00

When Goes a securily stoo being a security 03 May 2078.docx

Interested in your thoughts

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May 3, 2018

When does a security stop being a security?

Courts examine the economic reality of the transaction when determining whether something is a
security (see, e.g., Forman and Howey)

Courts consider whether the purposes of the securities laws would be advanced by application of
the securities laws to the transaction

Informational asymmetries: investors do not have access to information about the
promoter’s activities; when the significance of the promoter’s activities declines or there
is no centralized authority to provide information, the rationale recedes.

Liability for offering statements: especially acute where no other law would apply to
protect purchasers

Legal tests for whether something is a security include examination of legal rights, investor
expectations and promoter representations

“Stock” — Landreth Timber: whether “stock” should be treated as a security depends on
whether it has characteristics typically associated with stock

Right to dividends
Transferability
Ability to use as collateral
Voting rights commensurate with shares held
Potential to increase in value
“Note” — Reves: distinguish commercial purpose from investment purpose
Motivation of buyer and seller
Plan of distribution
Reasonable expectations of investing public
“Investment Contract” — Howey:
Expectation of profits (not consumption)

Efforts of others (“the undeniably significant ones, those essential managerial
efforts which affect the failure or success of the enterprise")

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Particular mstrument may or may not be security, depending on circumstances
CDs — compare Gary Plastics with Marine Bank
Condominiums — compare 1970s SEC releases with Forman

Application of tests often depends on the relationship of the participants in each particular
transaction and may not necessarily inhere to nature of instrument. Compare:

Initial digital asset distribution to investors to finance development of concept
Investor re-sales to other investors

Investor re-sales to potential users

Developer “airdrops” to potential ecosystem partners

Assuming the digital assets has no hallmarks of “stock” or “note,” a digital asset 1s more likely to
be a security when

Centralized authority:
investors remain passive; few if any other significant players
Developing infrastructure/limited current functionality
Marketed to “investors” for a return
Price reflects expectations of future operations
Less likely to be a security when
Decentralized operation
Functioning infrastructure
Marketed to potential users based on current ability

Price reflects current utility

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[Application to SAFT
Assumptions:
Non-users invest in instrument tohelp finance development of ecosystem
Ecosystem not currently functioning
Investor receives right to obtain digital assets at future date
Securities analysis
Current agreement is a security

Howey — investment of money in enterprise, expectation of profits based
on development of ecosystem by others

At time of purchase, digital assets may be a security

To the extent they are worth analyzing at time of sale, the assets are not
consumer items.

At time of delivery, would have to re-analyze attributes of assets, promotional
efforts, functionality of ecosystem, and role of promoters/developers to determine
whether they are securities

[Application to Ether
Clearly began as a securities offering

Based on currently available information, Ether may [now/soon] reflect current utility of
Ethereum network and not a bet on founders’ efforts to develop the network

Decentralized operation: Unclear the current importance of core programmers,
Ethereum Foundation (particularly with regard to solving scalability and other
problems /limitations) and others

Functioning infrastructure: as infrastructure currently is functional, becoming
more and more likely purchasers will purchase Ether to use it as “fuel”; but note
level of speculation reflected in volume of trading

Sales to potential users based on current ability: functionality is driving some
sales, but speculation abounds

Price may reflect current utility: when does market price simply serve as
“dynamic pricing” for a product or service? |

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[Possible indicia of a non-security digital asset
Mechanism to discourage hoarding and speculative trading
Identity/role of purchasers and sellers knowable — limits on anonymized trading
Limits on number/percentage of digital assets by holders
Fungibility/commodity-like features
Lock-ups for developers/promoters

Representations by purchasers of intent to consume]

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